
363 S.W.3d 383 (2012)
J.T.V., Respondent,
v.
M.A.L., Appellant.
No. ED 96310.
Missouri Court of Appeals, Eastern District, Division Three.
February 21, 2012.
Motion for Rehearing and/or Transfer to Supreme Court Denied April 10, 2012.
Kruse, Reinker &amp; Hamilton, LLC, Robert N. Hamilton, Jennifer R. Piper, John R. Fenley, St. Louis, MO, for Appellant.
The Marks Law Firm, LLC, Jonathan D. Marks, Creve Coeur, MO, for Respondent.
Before ROBERT G. DOWD, JR., P.J, MARY K. HOFF, J., and SHERRI B. SULLIVAN, J.

ORDER
PER CURIAM.
M.A.L. appeals from the judgment granting J.T.V.'s motion to modify child support and denying M.A.L.'s motion to dismiss and motion to modify child support. We affirm.
We have reviewed the briefs of the parties, the legal file, and the record on appeal, and find the claims of error to be without merit. An extended opinion would have no precedential value or serve any jurisprudential purpose. The parties have been furnished with a memorandum for their information only, setting forth the reasons for this order pursuant to Rule 84.16(b).
